875 F.2d 314Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Elford Guy COKER, Petitioner-Appellant,v.Robert W. DONLIN, Acting Warden, Attorney General of SouthCarolina, Respondents-Appellees.
    No. 89-7537.
    United States Court of Appeals, Fourth Circuit.
    Submitted March 30, 1989.Decided May 12, 1989.
    
      Elford Guy Coker, appellant pro se.
      Donald John Zelenka, Office of the Attorney General of South Carolina, for appellees.
      Before DONALD RUSSELL, WIDENER, and MURNAGHAN, Circuit Judges.
      PER CURIAM:
    
    
      1
      Elford Guy Coker seeks to appeal the district court's order refusing habeas corpus relief pursuant to 28 U.S.C. Sec. 2254.  Our review of the record and the district court's opinion accepting the recommendation of the magistrate discloses that this appeal is without merit.  Accordingly, we deny a certificate of probable cause to appeal and dismiss the appeal on the reasoning of the district court.  Coker v. Donlin, C/A No. 88-1769 (D.S.C. Feb. 6, 1989).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      DISMISSED.
    
    